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                                       United States District Court
                        EASTERN                             DISTRICT OF                              NEW YORK




                              USA
                                                                             EXHIBIT AND WITNESS LIST
                                V.
                                                                                  Case Number: 21-CR-208
                         ALEX LEVIN

PRESIDING JUDGE                                  PLAINTIFF'S ATTORNEY                      DEFENDANT'S ATTORNEY



TRIAL DATE(S)                                    COURT REPORTER                            COURTROOM DEPUTY


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                                                                      _                      CASE NO.
                     USA                   vs.              ALEX LEVIN                       21-CR-208
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                  USA                   vs.           ALEX LEVIN                21CR208(LDH)
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